     Case 3:15-cv-00412-WWE Document 69 Filed 02/14/17 Page 1 of 16




                            UNITED STATES DISTRICT COURT
                               DISTRICT OF CONNECTICUT

EDGAR CRESPO                                     NO. 3:15-CV-00412(WWE)
    Plaintiff

      VS

MICHAEL BEAUTON, et al.
     Defendants                                  November 30, 2016


                          STIPULATED PROTECTIVE ORDER

       This matter having come before the United States District Court by stipulation of

plaintiff, EDGAR CRESPO and defendant, MICHAEL BEAUTON, for the entry of a

protective order pursuant to Fed.R,Civ,P. 26(c), limiting the review, copying,

dissemination and filing of 164 Bates stamped pages entitled IA-13-072 and IA-15-060

produced by defendant on November 30, 2016 in the course of discovery in this matter

to the extent set forth below; and the parties, by, between and among their respective

counsel, having stipulated and agreed to the terms set forth herein, and good cause

having been shown;

       IT IS hereby ORDERED that:                                           .

       1,     This Stipulation is being entered into to facilitate the production, exchange

and discovery of documents and information that the parties agree merit confidential

treatment (hereinafter the "Documents" or "Testimony"),

       2,     Each party may designate Documents produced, or Testimony given, in

connection with this action as "CONFIDENTIAL" or "CONFIDENTIAL-ATTORNEYS'

EYES ONLY," either by notation on the document, statement on the record of the

deposition, written advice to the respective undersigned counsel for the parties.
Case 3:15-cv-00412-WWE Document 69 Filed 02/14/17 Page 2 of 16




 3,     As used herein:

        (a)    "CONFIDENTIAL" information shall mean all information,

 documents, or things that have not been made public by the disclosing party, and

 that the disclosing party reasonably believes contains or comprises (a) trade

 secrets, (b) proprietary business information, or (c) information Implicating an

 entity or individual's legitimate expectation of privacy. Any such designated

 CONFIDENTIAL information shall be subject to the provisions of this Stipulation,

 Copies of CONFIDENTIAL information and any receiving party's summary,

 compilation, or expression in another medium of the CONFIDENTIAL information

 are protected under this Stipulation to the same extent as the original

 CONFIDENTIAL information.

        (b)    "CONFIDENTIAL - ATTORNEY'S EYES ONLY" shall mean

 CONFIDENTIAL information-that the disclosing party-reasonabty-believes is so

 highly sensitive that its disclosure to an opposing party implicates, inter alia,

 considerations relating to or affecting the safety and security of Connecticut

 Department of Correction, its' operations, staff and inmates, and/or would be

 considered highly sensitive to the disclosing party. All such CONFIDENTIAL -

 ATTORNEY'S EYES ONLY information designations shall be made in good faith

 by the designating party. Any such designated CONFIDENTIAL ATTORNEY'S

 EYES ONLY information shall be subject to the provisions of this Stipulation.

 Copies of CONFIDENTIAL - ATTORNEY'S EYES ONLY information and any

 receiving party's summary, compilation, or expression in another medium of the

 CONFIDENTIAL - ATTORNEY'S EYES ONLY information are protected under


                                        2
    Case 3:15-cv-00412-WWE Document 69 Filed 02/14/17 Page 3 of 16




         this Stipulation to the same extent as the original CONFIDENTIAL -

         ATTORNEY'S EYES ONLY information.

               (c)    "Designating party" shall mean the parties to this action and any

         third-parties producing CONFIDENTIAL information or CONFIDENTIAL -

         ATTORNEY'S EYES ONLY information in connection with depositions,

         document production or otherwise, or the party asserting the confidentiality

         privilege, as the case may be.

               (d)    "Receiving party" shall mean the party to this action and/or any

         non-party receiving CONFIDENTIAL information or CONFIDENTIAL ~

         ATTORNEY'S EYES ONLY information in connection with depositions,

         document production or otherwise.

         4,    Whenever a party or nonparty herein designates documents, things, or

other information- as CONFIDENTIAL information, such must be stamped-ormarked

prior to its release to the receiving party as "CONFIDENTIAL," The protocol for

designating deposition testimony as "CONFIDENTIAL" is set forth in paragraph 12

beiow.

         5,    Whenever a party or nonparty herein designates documents, things, or

other information as CONFIDENTIAL-ATTORNEY'S EYES ONLY information, such

must be stamped or marked prior to its release to the Receiving party as

"CONFIDENTIAL - ATTORNEY'S EYES ONLY." The protocol for designating

deposition testimony as "CONFIDENTIAL - ATTORNEY'S EYES ONLY" is set forth in

paragraph 12 below.



                                              3
    Case 3:15-cv-00412-WWE Document 69 Filed 02/14/17 Page 4 of 16




       6,     All documents and materials designated as "CONFIDENTIAL" (and any

information contained therein or derived therefrom) shall be used by the parties solely

for purposes of this action, and not for any competitive, business, or other purpose.

Under no circumstances other than those specifically provided for in this Stipulation

shall any party disclose such documents, materials or information to any person or

entity other than the following:

              (a)     the Court;

              (b)     counsel of record for the parties to this action and their employees

       and staff;

              (c)     the parties to this action, including the officers, directors and

       employees of the parties who have a need to know for purposes of this litigation;

              (d)     outside vendors who perform scanning, photocopying, computer

       classification or similar clerical functions; provided, however, that, after

       performing their services, such vendors may not have further access to any

       confidential documents or materials unless they are providing additional services;

              (e)     witnesses at any deposition, hearing, trial or post-trial proceeding in

       this matter (except that such witnesses shall not retain any CONFIDENTIAL

       information or materials subsequent to their testimony).

              (f)     court reporters and associated individuals engaged in transcribing,

       typing, or otherwise preparing transcripts of depositions or bearings in this action;

              (g)     consultants and expert witnesses who assist the attorneys of record

       in this action in the preparation of this case for trial; and

                                               4
    Case 3:15-cv-00412-WWE Document 69 Filed 02/14/17 Page 5 of 16




               (h)    any other persons or entitles whom counsel for the producing party

       or non-party agrees in writing, or whom the Court directs, should have access to

       confidential documents or materials,

       7.      All documents and materials so designated as "CONFIDENTIAL -

ATTORNEY'S EYES ONLY" (and any information contained therein or derived

therefrom) shall be used by the parties solely for purposes of this action, and not for any

competitive, business, or other purpose. Under no circumstances other than those

specifically provided for in this Stipulation, shall any party disclose such documents,

materials or information to any person or entity other than the following:

               (a)    the Court;

               (b)    counsel of record for the parties to this action and their employees

       and staff;

               (c)    consultants and expert witnesses who assist the attorneys of record

       In this action in the preparation of this case for trial; and

               (d)    any other persons or entities whom counsel for the designating

       party or non-party agrees in writing, or whom the Court directs, should have

       access to CONFIDENTIAL - ATTORNEY'S EYES ONLY information.

       8,      Notwithstanding the provisions in paragraphs 6 and 7 above,

CONFIDENTIAL or CONFIDENTIAL ATTORNEY'S EYES ONLY information may be

disclosed to any current employee or agent of the party or non-party producing such

information,




                                               5
    Case 3:15-cv-00412-WWE Document 69 Filed 02/14/17 Page 6 of 16




       9.      Before any disclosure of CONFIDENTIAL information or CONFIDENTIAL

- ATTORNEY'S EYES ONLY information is made to an expert witness or consultant

pursuant to paragraphs 6(g) and 7(c) hereof, counsel for the Receiving party shall

provide the expert's written agreement, in the form of Exhibit A attached hereto, to

comply with and be bound by its terms. Counsel for the party obtaining the certificate

shall supply a copy to counsel for the other party at the time of the disclosure of the

information required to be disclosed by Fed.R.Civ.P 26, except that any certificate

signed by an expert or consultant who is not expected to be called as a witness at trial

is not required to be supplied,

      10,      Shouid the need arise for any of the parties to disclose CONFIDENTIAL

information or CONFIDENTIAL - ATTORNEY'S EYES ONLY information during any

hearing or trial before the Court, including through argument or the presentation of

evidence, such party may do so only.after taking such steps as the Court, upon motion

of the designating party, shall deem necessary to preserve the confidentiality of such

CONFIDENTIAL information.

            (a) Procedure for filing CONFIDENTIAL or CONFIDENTIAL ~ ATTORNEY'S

               EYES ONLY information:

               (a)   Any party wishing to file with the Court any documents previously

      designated as comprising or containing CONFIDENTIAL information or

      CONFIDENTIAL - ATTORNEY'S EYES ONLY information must comply with

      D.Conn.L.R. 5(e) which governs the submission of documents under seal and

      the procedure for obtaining the same,



                                             6
    Case 3:15-cv-00412-WWE Document 69 Filed 02/14/17 Page 7 of 16




              (b)          All pleadings, briefs or memoranda that reproduces,

       paraphrases-or discloses any documents that have previously been designated

       by a party as comprising or containing CONFIDENTIAL or CONFIDENTIAL -

       ATTORNEY'S EYES ONLY information, shall identify such documents by the

       production number ascribed to them at the time of production.

       11.    in the event that a question is asked at a deposition that calls for or results

in the disclosure of CONFIDENTIAL information and/or CONFIDENTIAL -

ATTORNEY'S EYES ONLY information, counsei for the party claiming such

confidentiality may designate the question and answer as "CONFIDENTIAL" and/or

"CONFIDENTIAL - ATTORNEY'S EYES ONLY" by making, at the deposition, a

statement on the record so designating such portions, and shall direct the reporter to

place such designated CONFIDENTIAL information and/or CONFIDENTIAL -

ATTORNEY'S EYES ONLY information on separate transcript pages prominently

marked with the legend "CONFIDENTIAL" or "CONFIDENTIAL - ATTORNEY'S EYES

ONLY," as appropriate. Regardless of whether notice was given at the deposition,

deposition transcripts shall be treated as "CONFIDENTIAL - ATTORNEY'S EYES

ONLY" for ten (10) business days after delivery of the transcript to the parties. Counsel

for the deponent shall have ten (10) business days after receipt of the deposition

transcript within which to inform the deposing party of the portions of the transcript (by

specific page and line numbers) to be designated as "CONFIDENTIAL" or "Confidential

- ATTORNEY'S EYES ONLY/1 as appropriate. Subject to paragraphs 16 and 17 below,

designation of confidentiality is waived after the expiration of the ten-day period, unless

designated at the time of the deposition or within the ten-day period, or otherwise


                                             7
     Case 3:15-cv-00412-WWE Document 69 Filed 02/14/17 Page 8 of 16




stipulated or ordered, Any person present at a deposition who has not signed an

"ACKNOWLEDGMENT TO BE BOUND BY PROTECTIVE ORDER" and is not

authorized to receive or otherwise review CONFIDENTIAL information and/or

CONFIDENTIAL - ATTORNEY'S EYES ONLY information shall not be permitted to

hear testimony designated as "CONFIDENTIAL" and/or "CONFIDENTIAL -

ATTORNEY'S EYES ONLY," as appropriate, and shall be required to leave the

deposition during such testimony.

        12,    Every person, firm, or organization receiving CONFIDENTIAL information

and/or CONFIDENTIAL -ATTORNEY'S EYES ONLY information pursuant to this

Stipulation (a) shall use the same solely for purposes of this action, (b) shall not use the

same for any business, commercial, or competitive purpose, and (c) agrees to subject

himself/herself/itself to jurisdiction of this Court for the purpose of any proceeding

relating to performance under, compliance with, or violation of this Stipulation. The

United States District Court for the District of Connecticut shall retain jurisdiction to

enforce this Stipulation even after termination of this action. This Stipulation, however,

in no way operates to restrict the disclosure or use of any information which (a) was, is,

or lawfully becomes publicly available other than through violations of this Stipulation;

(b) was or is acquired by a party from a third parly having the right to disclose such

information to the recipient; or (c) was lawfully possessed by the non-designating party

prior to entry by the District Court of this Stipulation.

        13,    Nothing in this Stipulation shall prejudice any party from seeking

amendments to this Stipulation that broaden or restrict the rights of access to and use of




                                                8
    Case 3:15-cv-00412-WWE Document 69 Filed 02/14/17 Page 9 of 16




CONFIDENTIAL information and/or CONFIDENTIAL - ATTORNEY'S EYES ONLY

information.

       14,     Each party reserves the right to dispute the designation or non-

designation of an item as "CONFIDENTIAL" or "CONFIDENTIAL - ATTORNEY'S EYES

ONLY" by any other party or nonparty in accordance with this Stipulation, The parties

shall first try to resolve any such dispute on an informal basis before presenting the

dispute to the Court. Any party believing that any information, documents, or things

have been inappropriately designated or not designated by another party or nonparty as

"CONFIDENTIAL" or "CONFIDENTIAL - ATTORNEY'S EYES ONLY" shall inform

counsel for the other party or nonparty, in writing, If the parties (and nonparty, if

applicable) are unable to resolve the matter informally within five (5) days of such

writing, the party objecting to the designation or non-designation may then file an

appropriate motion with the Court. Until and unless the Court may finally determine that

such documents, information, or materials are not properly designated, or shouid be

designated, as "CONFIDENTIAL" and/or "CONFIDENTIAL - ATTORNEY'S EYES

ONLY" pursuant hereto, the same shall continue to be treated as originally designated

or non-designated by the producing party.

       15.     Except as stated herein, by making documents, things, and other

information designated as CONFIDENTIAL Information and/or CONFIDENTIAL -

ATTORNEY'S EYES ONLY information available for use in this action, neither party has

waived or compromised the confidentiality or protectabiiity of the information or

documents, Neither the taking of any action in accordance with the provisions of the




                                              9
    Case 3:15-cv-00412-WWE Document 69 Filed 02/14/17 Page 10 of 16




Stipulation, nor the failure to object thereto, shall in any way prejudice any claim or

defense in this proceeding or any right of a third party,

       16,     Any document or information that may contain CONFIDENTIAL

information that has been inadvertently produced without identification as to its

"confidential" nature as provided in this Stipulation, may be so designated by the party

asserting the confidentiality privilege by written notice to the undersigned counsel for the

Receiving party identifying the document or information as "CONFIDENTIAL" or

"CONFIDENTIAL - ATTORNEY'S EYES ONLY" within a reasonable time following the

discovery that the document or information has been produced without such

designation,

       17.     If a Designating party realizes it has inadvertently produced a document it

considers to be covered by the attorney-client privilege, work product immunity, or other

applicable privilege, protection or immunity it may contact the Receiving party and notify

it of such inadvertent production, Such inadvertent disclosure shall not constitute a

waiver of any privilege or immunity if the Designating party;

               (a)         notifies the receiving party in writing of the delivery of inadvertently

       produced documents; and

               (b)         identifies the produced documents:

                      i,          by Bates stamp number designations; or

                     ii,          by the date(s) of the document(s), the name(s) of its

                                  author(s) and the name(s) of each person to whom the

                                  document(s) were addressed; or


                                                   10
    Case 3:15-cv-00412-WWE Document 69 Filed 02/14/17 Page 11 of 16




                    iii,     by narrative description sufficient to identify the produced

                             documents.

       18,    Upon receipt of the written notice required in paragraph 18 above, the

receiving party wiii have ten (10) days within which it shall return to the designating

party the inadvertently produced privileged documents, and ail copies thereof, and all

notes made regarding such documents must be immediately destroyed, unless the

parties mutually agree upon a longer time for return and destruction of the privileged

documents, No use shall be made of such inadvertently produced materials during a

deposition or at trial, nor shall such materials be shown to anyone (unless the person

has already been given access to it) subsequent to the request for its return.

       19.    The production or disclosure of CONFIDENTIAL or CONFIDENTIAL -

ATTORNEY'S EYES ONLY information shall In no way constitute a waiver of each

party's right to object to the production or disclosure of other information in this action or

in any other action,

       20.    This Stipulation is entered into without prejudice to the right of either party

to seek relief from, or modification of, this Stipulation or any provisions thereof by

properly noticed motion to the Court or to challenge any designation of confidentiality as

inappropriate under the Federal Rules of Civil Procedure, the Federal Rules of Evidence

or other applicable iaw.

       21,    This Stipulation shall continue to be binding after the conclusion of this

litigation except (a) that there shall be no restriction on documents that are used as

exhibits in District Court (unless such exhibits were filed under seal); and (b) that a party

may seek the written permission of the Designating party or further order of the Court

                                             11
    Case 3:15-cv-00412-WWE Document 69 Filed 02/14/17 Page 12 of 16




with respect to dissolution or modification of any the Stipulation. The provisions of this

Stipulation shall, absent prior written consent of both parties, continue to be binding

after the conclusion of this action.

       22.    Nothing herein shall be deemed to waive any privilege recognized by law,

or shall be deemed an admission as to the admissibility in evidence of any facts or

documents revealed in the course of disclosure,

       23.     Within sixty (60) days after the final termination of this litigation by

settlement or exhaustion of all appeals, all CONFIDENTIAL information and

CONFIDENTIAL - ATTORNEY'S EYES ONLY information produced or designated and

all reproductions thereof, shall be returned to the Designating party or shall be

destroyed, at the option of the Designating party, in the event that any party chooses to

destroy physical objects and documents, such party shall certify in writing within sixty

(60) days of the final termination of this litigation that it has undertaken its best efforts to

destroy such physical objects and documents, and that such physical objects and

documents have been destroyed to the best of its knowledge. Notwithstanding anything

to the contrary, counsel of record for the parties may retain one copy of documents

constituting work product, a copy of pleadings, motion papers, discovery responses,

deposition transcripts and deposition and trial exhibits. This Stipulation shall not be

interpreted in a manner that would violate any applicable cannons of ethics or codes of

professional responsibility. Nothing in this Stipulation shall prohibit or Interfere with the

ability of counsel for any party, or of experts specially retained for this case, to represent

any individual, corporation, or other entity adverse to any party or its affiliate(s) in

connection with any other matters,


                                               12
    Case 3:15-cv-00412-WWE Document 69 Filed 02/14/17 Page 13 of 16




       24.     This Stipulation may be changed by further order of this Court, and is

without prejudice to the rights of a party to move for relief from any of its provisions, or

to seek or agree to different or additional protection for any particular material or

information.




                                             13
   Case 3:15-cv-00412-WWE Document 69 Filed 02/14/17 Page 14 of 16




                                  THE PLAINTIFF,
                                  EDGAR CRESPO



                                  /§/
                                  GARY A. MA^IB0flARDI;txtO6312
                                  21.1 Ste-te Street
                                  Bridgeport, CT 06604



                                  THE DEFENDANT,
                                  MICHAEL




                                  Carmel A, Motherway, #ct23f>§,
                                  Assistant Attorney Genera!
                                  Office of the Attorney General
                                  110 Sherman Street
                                  Hartford, CT 06105



SO ORDERED,



           • J.)




                                 14
     Case 3:15-cv-00412-WWE Document 69 Filed 02/14/17 Page 15 of 16




                                        Exhibit A
ACKNOWLEDGMENT TO BE BOUND BY PROTECTIVE ORDER

       I,                                  , hereby acknowledge that I am to review
and/or receive information and/or documents designated as CONFIDENTIAL or
CONFIDENTIAL - ATTORNEY'S EYES ONLY pursuant to the terms of the Stipulated
Protective Order ("Protective Order") in Crespo v. Beauton,in the United States District
Court for the District of Connecticut, Docket No, 3:15cv00412(WWE) ("the Court"), I
acknowledge receipt of a copy of that Protective Order, and certify that I have read it
and that I agree to be bound by the terms and restrictions therein,

       I further agree that any information or document designated as CONFIDENTIAL
or CONFIDENTIAL - ATTORNEY'S EYES ONLY pursuant to that Protective Order and
which is delivered to me shall be treated as CONFIDENTIAL or CONFIDENTIAL -
ATTORNEY'S EYES ONLY, will be segregated and kept by me in a safe place (or when
applicable, within the offices of Outside Counsel), and will not be made known to others
except in accordance with the terms of that Protective Order. I further understand and
agree that any summaries or other documents containing information obtained from
CONFIDENTIAL or CONFIDENTIAL - ATTORNEY'S EYES ONLY documents or
information furnished to me shall also be treated by me as confidential and subject to
the Protective Order, I further agree to notify any stenographic or clerical personnel or
employees who are required to assist me of the terms of the Protective Order, I also
agree to dispose of all such CONFIDENTIAL or CONFIDENTIAL - ATTORNEY'S EYES
ONLY documents and information and-all summaries or other-documents containing
information therefrom in such manner as I may be instructed after completing my
services. I acknowledge that the return or subsequent destruction of such documents
and information shall not relieve me from any of the obligations imposed by the
Protective Order.

       i hereby subject myself to the jurisdiction of the Court for the purpose of any
proceedings relating to the performance under, compliance with, or violation of the
Protective Order, I further acknowledge that I understand that I may be subject to
sanctions imposed by the Court, including an order of contempt, if I fail to abide by and
comply with the Protective Order.


Name:                                    Business Address:
Date:
Occupation:                              Telephone:


                   **Acknowledgement Appears On Following Page**




                                           15
    Case 3:15-cv-00412-WWE Document 69 Filed 02/14/17 Page 16 of 16




STATE OF                       , ss,

COUNTY OF                      , ss,

      On this.   . day of             , 20 if before me personally appeared
                        , who executed the foregoing instrument and acknowledged that
he/she executed this instrument as.his/her own free act and deed.



                         Notary Public
                         My Commission Expires:




                                         16
